
PER CURIAM.
Upon consideration of the appellant’s response to the Court’s order of October 28, 2004, the Court has determined that the notice of appeal was not timely filed. Fla. R.App. P. 9.130(b). Accordingly, the appeal is hereby dismissed for lack of jurisdiction. See Snelson v. Snelson, 440 So.2d *267477 (Fla. 5th DCA 1983). In light of the dismissal, the appellee’s “Limited Appearance and Motion to Stay Briefing or in the Alternative, Motion for Enlargement of Time,” filed on November 8, 2004, is denied as moot.
ERVIN, PADOVANO and THOMAS, JJ., Concur.
